Case 6:04-cr-00075-JDK-JDL          Document 105        Filed 06/02/05     Page 1 of 2 PageID #:
                                             95



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


UNITED STATES OF AMERICA                         §

VS.                                              §           CRIMINAL ACTION
                                                             6:04CR75(1)
RENE FRIAS, a/k/a “Barney”                       §



       ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS OF FACT AND
              RECOMMENDATION ON FELONY GUILTY PLEA


       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Judith K. Guthrie regarding the Defendant’s plea of guilty to Counts 2 and 3 of the

4-Count Indictment in the above numbered cause. Having conducted a proceeding in the form and

manner prescribed by Fed.R.Crim.P.11, Magistrate Judge Guthrie recommends that the Court accept

the plea agreement and the guilty plea of the Defendant.

       No objections have been filed to the Magistrate Judge’s Findings and Recommendation

within the time period set by law, and neither party has requested a de novo review of the plea

proceedings before the Magistrate Judge. If a de novo review becomes necessary at any point during

the pendency of the cause, the Court reserves the right to conduct it. Based on the current record

before the Court, it appearing that the Findings and Recommendation are neither clearly erroneous

nor contrary to law, the Court is of the opinion that said Findings and Recommendation should be

adopted. It is accordingly

       ORDERED that the Findings of Fact and Recommendation of United States Magistrate

Judge Judith K. Guthrie, filed February 3, 2005, is hereby ADOPTED. It is further
Case 6:04-cr-00075-JDK-JDL             Document 105       Filed 06/02/05     Page 2 of 2 PageID #:
                                                96



            ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,
.
    the plea agreement is approved by the Court, conditional upon a review of the presentence report.

    It is finally

            ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

    GUILTY of Counts 2 and 3 of the Indictment in the above numbered cause and enters a

    JUDGMENT OF GUILTY against the Defendant as to Counts 2 and 3 of the Indictment.


      SIGNED this 1st day of June, 2005.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE
